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June 22, 2018

Honorable Carla E. Craig
United States Bankruptcy Court
271 Cadman Plaza East
Brooklyn, NY 11201

RE: Nicola B. Caldeira
Chapter 13
Case Number: 18-41 146
SD&B File Number: 18-072435

Dear Chief Judge Craig:

This loss mitigation status letter is submitted on behalf of Nationstar Mortgage LLC as Servicer
for Deutsche Bank National Trust Company, as Trustee on Behalf` of` HSI Asset Securitization
Corporation Trust 2006-HE1 (“Nationstar”), a secured creditor of the above-referenced Debtor.

As a preliminary matter, there are two obligors on the Note: the Debtor and Louis Caldeira.
There are three mortgagors, the Debtor, Louis Caldeira, and Neil Caldeira. Copies of the Note
and Mortgage are affixed to Nationstar’s Proof` of Claim, Claim No. l.

On May 18, 2018, an Order was entered directing Nationstar to participate in loss mitigation
with the Debtor. On May 24, 2018, an initial financial package was filed and served on the
Debtor and Debtor’s Attomey.

Please be advised that the Debtor’s Attomey has submitted the initial financial package on June
19, 2018. However, the initial financial package did not contain any documentation from Louis
Caldeira, the co-obligor on the Note. Nationstar has reviewed and has requested a Letter of`
Explanation as to Louis Caldeira’s involvement in the modification review.

On June 20, 2018, the Debtor’s Attomey’s office responded to the request with an email stating

that Louis Caldeira is the Debtor’s 90 year old father, who no longer lives in the U.S. As such,
Nationstar requires a signed and dated Letter of` Explanation confirming same, along with a

A'I'I`ORNEYS AT LAW

 

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recorded quitclaim deed from Louis Caldeira granting the Debtor the property.
If` you have any questions, please do not hesitate to contact the undersigned

Very truly yours,

/s/ Katherine Heidbrink

 

Katherine Heidbrink

